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UNITED STATES DISTRICT .COURT [Ae ectven tone
DISTRICT OF ARIZONA
JUL 1 3 2018
United States
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WITNESS LIST

Scott Daniel Warren
DEFENDANT ’ case wuMBer: CR18~-223-TUC-RCC (BPV)

PRESIDING JUDGE COURTROOM DEPUTY COURT REPORTE!
Bernardo P. Velasco Se Ow. Mons C indu/ C har
PLAINTIFF ATTORNEY {S) DEFENDANT’ Mtrorney (8)

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

Col qi ea aisle Anna R. Wright Amy Knight

MY Nathaniel Walters Gregory Kuykendall

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